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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

EILEEN AGURCIA, ET AL.,                       )
                                              )
               Plaintiffs,                    ) Civil action No.: 19-CV-00038-JSM-SPF
                                              )
v.                                            )
                                              )
REPUBLICA DE HONDURAS,                        )
INSTITUTO DE LA PROPIEDAD,                    )
EMPRESA NACIONAL DE ENERGIA                   )
ELECTRICA,                                    )
                                              )
               Defendants.                    )


                  STATUS REPORT ON SERVICE PURSUANT TO
            THE FOREIGN SOVEREING IMMUNITES ACT, 28 U.S.C. § 1608

       Plaintiffs Eileen Agurcia, et al., provide this Court with the following status report on

service pursuant to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §1608:

       1. This is an action filed pursuant to 28 U.S.C. §1605(a)(3), the FSIA’s takings clause.

       2. On April 5, 2019, this Court issued its Request for International Judicial Assistance.

[DE-12-1]. The Court directed that a copy of the summons and complaint be served upon the

Secretaria de Relaciones Exteriores de Honduras. Id. at 2. Upon service, the Court further

requested that a copy of a certificate of service be signed and returned to the Court. Id.

       3. Thereafter, Plaintiffs transmitted a copy of the Request for International Judicial

Assistance [DE-12-1] along with the summons, complaint, and necessary translations to Crowe

Foreign Services (“Crowe”), for service pursuant to 28 U.S.C. §1608.

       4. On May 13, 2019 and pursuant to 28 U.S.C §1608(a)(4), Crowe forwarded the

Request for International Judicial Assistance, Amended Summons in a Civil Action, Complaint,

and Spanish translations, through the appropriate diplomatic channels to be properly served in
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Honduras. See Declaration of Celeste Ingalls at ¶7, a true and correct copy of which is attached

as Exhibit “A”.

        5. In her declaration, Ms. Ingalls explains that the U.S. Department of State has

designated the consular representative at the U.S. Embassy in Honduras “to receive requests for

the service of judicial documents in Honduras in response to a letter rogatory from the United

States Department of State and forward to the appropriate Honduras judicial/governmental

authorities, who will route the documents to a local Honduras court for service.” See Ingalls

Decl. at ¶4.

        6. Pursuant to 28 U.S.C. §1608(d), a sovereign defendant is given sixty days to

respond. See also Ingalls Decl. at ¶6. However, the courts of Honduras “are not obliged to

provide status on the progress of their efforts to serve . . .,” id. at ¶8, and [t]here is no obligatory

time frame for effecting service by letter rogatory request,” id. at ¶9.

        7.     According to Crowe, “service in Honduras in response to a letter rogatory can

take more than one year to effect, but could take as much as 2 years or longer because it is

ultimately up to the Honduran government and courts.” See Ingalls Decl. at ¶10.

        8. Nevertheless, pursuant to 28 U.S.C. §1608(c)(1), service “shall be deemed to have

been made in the case of service under subsection (a)(4) as of the date of transmittal indicated in

the certified copy of the diplomatic note.”

        9. Upon receipt of a certified copy of the aforementioned diplomatic note confirming the

date of service, Plaintiffs will further update the Court.




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       WHEREFORE, Plaintiffs Eileen Agurcia, et al. file this status report on international

service.

Dated: July 9, 2019.

                                            Respectfully submitted,

                                            ALVAREZ | GONZALEZ | MENEZES, LLP

                                            By:    /s/ Carlos F. Gonzalez
                                                   Florida Bar No. 494631
                                                   One Flagler Building
                                                   14 N.E. 1st Avenue
                                                   Suite 1105
                                                   Miami, Florida 33132
                                                   T. (305) 723-1876
                                                   F. (786) 475-7832
                                                   Email: cfg@algofirm.com

                                                   Attorneys for Plaintiffs
                                                   Eillen Agurcia, et al.




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